                                                           Case 1:24-cv-00196-N/A                                               Document 2-1                              Filed 10/24/24                       Page 1 of 3
          lmnorter of Record tlORl :                   LaJobi Inc.
          IORNumber:                                   26-204154000

          Annraisinn Official:                         Isl Arash Enshaee lmoort Soecialst CST203

          Suaervisorv lma ort Soecialist:              Isl Garv Melofchik Branch Chief T082
                                          I
          These are the entries that fall after 12/23/08

                                                                                                                                                                                          ADD
                                                                                                                                                                            ADD Rate Collected
                                                                                                                Entered                                                      Applied @Time of
 Entry                                                                                                           Value                                                       @Time       Entry                                        Correct
  Type    Entrv Date         Entrv #        Lines       Invoice•            Mdse Subject to ADO               (Declared)               Commercial Invoice From               of Entry (ADD Paid)         Actual Manufacturer         ADO Rate Total ADO Due Domestic Value          Actual LOR
Outv was not aoolied at the time of entrv. Outv should have been 216.01•1..
   01         11/1612009    322-01543505      20         OS2009057                     BRO                    $       35 475   Donovino Huanahekou Furniture lndustrv          0.00%      $0.00    Honnvann Wooden Co tQ&J Groun\     216 .01%       $76 629.55     $156 946.37      $76 629.55
   01          12/112009    322-01637497       8         OS2009061                     BRO                    s       57 471   Donavina Huanahekou Furniture lndustrv          0.00%      $0.00    Honnvann Wooden CoiO&J Grau~       216.01%       $124143.11      $254 259.75     $124143.11
   01          121712009    322-01675166       2         OS2009063                     BRO                    $       15 048   Oonavina Huanahekou Furniture Industry          0.00%      $0.00    Honovano Wooden Co lO&J GrouO\     216.01%        $32 505.18      $66 574.46      $32 505.18
   01          1/1712010    322-01895871       1         OS2009070                     BRO                    $       37 620   Oonavim::i Huanghekou Furniture lndustrv        0.00%      $0.00    Honovano Wooden Co fO&J Grouo\     216 .01%       $81 262.96     $166 436.15      $81 262.96
                                                                         BRO, Christon 40 and BRO Drawer
    01          1/5/2010    322-01832080       3         OS2009066                     Parts                  $       28 408    Oonovino Huanahekou Furniture lndustrv         0.00%      $0.00    Honnvann Wooden Co IQ&J Groun\     216.01%        161 364.12     $125 680.97      $61 364.12
    01          2/112010    322-01987397       2         OS2010002                     BRO                    $       22143     Qinodao Honavana Wooden                        0.00%      $0.00    Honnvann Wooden Co fO&J Groun\     216.01%        147 831 .09     $97 963.73      $47 831 .09
    01          2/812010    322-02030395       1         OS2010004                     BRO                    s       37 620    Oonavina Huanahekou Furniture lndustrv         0.00%      $0.00    Honovano Wooden Co-fO&J Groun\     216 .01%       181 262.96     $166 436.15      581 262.96
    01          2/8/2010    322-02030544       1         OS2010005                     BRO                    $        7 524    Oonavina Huanghekou Furniture Industry         0.00%      $0.00    Honovano Wooden Co lb&J GroUO'I    216.01%        116 252.59      $33 287.23      516 252.59
                                                                         BRO & Various Parts , and Christon
    01          2/912010    322-02031633       4         OS2009074                      40                    $       65 796    Oono~o Huanohekou Furniture lndustrv           0.00%      $0.00    Honnvann Wooden Co tQ&J Groun\     216.01%       $142 125.94     $291 090.72      5142 125.94
    01         2/1612010    322-02078733       1         OS2010007                     BRO                    s       35 475    Oonovino Huanahekou Furniture lndustrv         0.00%      $0.00    Honnvann Wooden Ca lO&J Groun\     216.01%        $76 629.55     $156 946.37       $76 629.55
    01         2/2312010    322-02115923       1         OS2010008                     BRO                    $       30 096    Oonavina Huanahekou Furniture lndustrv         0.00°/4    50.00    Honnvann Wooden Co lO&J Groun\     216.01%        $65 010.37     $133148.92        $65 010.37
    01         4/1912010    M96-20941812       1         U2010006S                  Headboards                s          700    Qinadao Honashen Wooden Co ltd                 0.00%      $0.00    Qinndao Honnshen Wooden Co ltd     216.01%         $1 512.07       $3 096.90        $1 512.07
    01         7/16/2010    N05-02658532       1         OS2010045                     BRO                    s        4 623    Oonnvinn Huanohekau Furniture lndustrv         0.00%      $0 .00   Honovano Wooden CoIO&J Grauo\      216.01%         $9 986.14      $20 452 .80       $9 986.14
    01         7/16/2010    N05-02658532       1         sO2010-011         Portland 40 50 and Combo          s        3 222    Oonovino Huanahekou Furniture lndustrv         0.00%      $0.00    Shennnuan Wooden Co                216.01 %        S6 959.84      $14 254 .58       $6 959.84
    01         8/1112010    N05-02671493       1         OS2010055                      BRO                   s       37 620    Oana,.ina Huanahekou Furniture lndustrv         0.00%     $0.00    Honnvann Wooden Co tQ&J Groun\     216.01°/4      $61 262.96     $166436.15        $81 262.96
    01         9/1012010    N05-02684405       1         SQ2010-009           Portland 50 and Combo           s       73 254    Oanavino Huanahekou Furniture lndustrv          0.00%     $0.00    Shennnuan Wooden Co                216.01°/,     $158 235.97     $324 085.95      $158 235.97
    01         9/10/2010    N05-02686848       1         OS2010067                      BRO                   s       40 037    Oona~ Huan~u Furniture lndustrv                 0.00%     50 .00   Honovano Wooden Col D&J Gra~       216.01%        $66 483.92     $177 129.29       $86 483.92
                                                                          BRO and Parts (Wooden Drawer
    01    ! 9/1012010       N05-02686863        1         OS2010068                  Panels)                  s       47 641 Oonaying Huanahekau Furniture lndustrv             0.00%     50.00    Honnvann Wooden Co fQ&J Groun\     216.01%       $102 909.32     $210 770.45      $102 909.32
    01    l    9/2012010    N05-02690956        1         OS2010069                     BRO                   s       32 029 Oonavina Huanahekou Furniture lndustrv             0.00%     $0.00    Honnvann Wooden Co IO&J Groun\     216.01 %       $69 185.84     $141700.78        $69 185.84
          I
Merchandise was entered with lower dut rate of either o•;. or 7.24•/. when it sho uld have been 216.01"!•.
__Q1__      11212009   322-38348554        4        OS2008041          Kimbertv 50 Armoire and Combo s                32 291 China Rizhao Sanmu Waadworkina                     7.24% $2 337.87 Hannvann Wooden Co lQ&J Groun\         216.01 %      $69 751 .79    $142 859.90       $67 413.92
                                                                      Kimberly Combo , Arrnoire and 50 &
~     --    1/512009   322-38707551        2        OS2008043                Kimber1v Case Parts              s       48 741 China Rizhaa Sanmu WoodworkinQ                     7.24% $3 528.85 Hano~ Wooden Co tO&J Graun\            216.01%      $105 285.43     $215 637.01      $101 756.58
                                                                      Kimberly Combo , Armoire and 50 &
   03       1/5/2009   322-38669553        2        OS2008042                     Kendal 40                $          51 251 China Rizhao Sanmu Woodworkina                     7.24%    $5 511 .96 Honnvann Wooden Co fQ&J Groun\     216.01%      $1 10 707.29    $226 741 .60     $105 195.33

                                                                           Kimberly Combo , Armoire , 50 &
    03          1/10/2009   322-40259559        3         OS2008044       K.imber1v Case Parts & Kendal 40     $      28 067 China Rizhao Sanmu Woodworkino                     7.24% $2 032.05 Honnuann Wooden Co (Q&J Grouo\         216.01 %       160 627.53    $124 172.34       $58 595 .48
    03          1/19/2009   322-42617556        2         OS2008045         Kendal 40 & Klmberlv Combo         s      36 386 China Rizhaa Sanmu Waodworkina                     7.24% $2 634 .35 Honnvann Wooden Co fQ&J Groun\        216.01%        $78 597.40    $160 976.76       $75 963.05
                                                                          Kimberly 50 and Combo & Various
    03          2/912009    322-48160551        3         OS2008047                Parts I Kendall             $      35 544 China Rizhao Sanmu Woodworkina                     7.24% $2 573.39 Honovann Wooden Ca IO&J Groun\         216.01°/4     $76 778.59      $157 251 .63     $74 205.20
    03         2/1712009    322-51418557        2         OS2008046       Klmber1v 50 Armaire and Combo        $      83105 China Rizhao Sanmu Woodworking                      7.24°/4 $6 016.80 Honavano Wooden Co-lO&J Grouo\       216.01%      $179 515.11      $367 668.15     $173 498.31
                                                                          Kimberly SD and Armoire & Kendal
     03         2/1912009    322-52135556       3         OS2009001                      40                       $    24 825 China Rizhao Sanmu Woadwarkina                    7.24% $1 797.33 Honnvann Wooden Co tQ&J Groun\         216.01 %       $53 624.48     $109 829.28      $51 827.15

                                                                          Kimberly 50, Combo, Armoire and
     03          5/4/2009   322-00370678        4         OS2009009       Various Parts & Kendal 40 & BRO         S 155 612 Oonavino Huanohekou Furniture lndustrv              7.24% $11 261 .96 Honovanc Wooden Co O&J Grauo\        216.01 %      $336 137.48     $688 449 .27    $324 875.52
     03          5/912009   322-00399735        3         OS2009014            Kimberlv SD and Combo              $  23 305      Dona-.ina Huanahekou Furniture lndustrv        7.24°/4 $1 687.28 Honnvann Wooden Co D&J Grouc         216.01%        550 341 .13    $103 104.58      $48 653.85
     03          6/6/2009   322-00548638        2         OS2009022       Kimberl\/ 50 Almoire and Combo          s 27 670       Oonovina Huanahekau Furniture lndustrv         7.24% $2 003.31 Honnvann Wooden Co D&J Grour           216.01%        $59 769.97     $122 415.95      $57 766.66
     03         6/1612009   322-00619421        4         OS2009024         Kimbertv Almoire and Combo            s 74 335       Oonavina Huanahekou Furniture tndustrv         7.24% $5 380.04 Honnvann Wooden Co D&J Grou•           216.01%       $160 571 .03    $328 868 .45    $155190.99
     03         8/1112009   322-00956534        4         OS2009038            Kimberlv SD and Combo              s 34 252       Oonavina Huanahekou Furniture lndustrv         7.24% $2 479.84 Honnvann Wooden Co O&J Grour           216.01°/4      $73 987.75     $151 535.64      S71 507.91
     03         9/14/2009   322-01158270        3         OS2009047            K.imbert" 50 and Combo             $ 130 077      Oonm inn Huanahekau Furniture Industry         7.24% $9 526.90 Hanovann Wooden Co O&J Grour           216.01%       $280 979.33     $575 478.86     $271 452.43
     03         2/2312010   322-02122184        2        SQ2010-002-1          Portland 50 and Combo              $ 24147        Oonovino Huanahekou Furniture lndustrv         7.24% $1 748.24 Shenoouan Wooden Co                    216.01%        $52 159.93     $106 829.71      $50411 .69
     03          31212010   322-02162057        1        SQ2010-002-2          Portland 50 and Combo              s 24 448       Oonavino Huanahekou Furniture lndustrv         7.24% $1 770.04 Shennnuan Wooden Co                    216.01%        $52 810.12     $108161 .37      $51 040.08
     03         3/10/2010   322-02214296        2        SQ2010-002-3          Portland SD and Combo              $ 24 420       Dona, ina Huanahekou Furniture lndustrv        7.24'/4 $1 768.01 Shennnuan Wooden Ca                  216.01%        $52 749.64     $108 037.50      $50 981 .63
     03         3/1012010   322-02214296        2        SQ2010-002-4       Portland SD Combo and Parts           s 29 724       Donavina Huanahekou Furniture lndustrv         0.00¾     $0.00   Shennnuan Wooden Co                  216.01%        $64 206.81     $131 503.14      $64 206.81
     03         4120/2010   M96-20937521        2         OS2010018                     BRO                       $ 30 096       Oonnvinl'l Huanohekou Furniture Industry       7.24% $7 203.73 Honovano Wooden Ca IO&J Groun1         216.01%        $65 010.37     $133 148.92      $57 806 .64
     03         5/1412010   ACN-30171324        1         SQ2010-004           Portland 50 and Combo              $ 24 464       Donavino Huanahekou Furniture lndustrv         7.24% $1 771 .19 Shenaouan Wooden Co                   216.01%        $52 844.69     $108 232.16      $51 073.50
     03         5/18/2010   ACN-30171969           2      OS2010022                      BRO                      s 37 257       Donavino Huanahekou Furniture lndustrv         7.24% $8 961 .82 Hann"ann Wooden Co (Q&J Groual        216.01%        $80 478.85     $164 830.18      $71 517.03
     03         5/18/2010   ACN-30171977           1      SQ2010-005            Portland 50 and Combo             s 74 491       Oonavina Huanahekou Furniture lndustrv         7.24% $5 330.74 Shennnuan Wooden Ca                    216.01%       $160 908.01     $329 558.61     $155 577.27
                                                                            Portland 50 and Parts (Wooden
     03          61712010   ACN-30179921           2      SQ2010-006-1              Drawer Panels)                $    25 888    Oonovino Huanahekou Furniture lndustrv          7.24% $1 874.30 Shenaouan Wooden Co                   216.01%        $55 920.67     $114532.14        $54 046.37
     03         6/1612010   ACN-30183725           1      SQ2010-006-2              Portland Combo                s    23 403    Donavina Huanahekou Furniture lndustrv          7.24% $1 694.38 Shenoouan Wooden Co                   216.01%        $50 552.82     $103 538.15       $48 858.44
     03         6126/2010   M96-20956604           2       OS2010043                     BRO                      $    15 798    Oonavina Huanahekou Furniture lndustrv          7.24% $1143.78 Honnvann Wooden Co lO&J Grouo\         216.01%        $34 125.26      $69 892 .56      $32 981 .48
     03         6/2612010   M96-20956596           2       OS2010041                     BRO                      $    15 798    Oonavina Huanahekou Furniture lndustrv          7.24% $1143.78 Honnvann Wooden Co tQ&J Groun\         216.01%        $34 125.26      $69 892.56       $32 981 .48
     03         6/2812010   M96-20957529           2       OS2010042                     BRO                      s    39130     Donnvinn Huanohekau Furniture lndu5try          7.24o/. $2 833.01 Honovann Wooden Ca ID&J Groun,      216.01 '/4     $84 524.71     $173116.60        $81 691 .70
     03         7/1112010   M96-20959806           1       SQ2010-010           Portland 50 and Combo             $    49 710    Oonovina Huanahekou Furniture lnduslrv          7.24% $3 599.00 Shennouan Wooden Co                   216.01 %      5101 378.57     $219 924.00      $103 779.57
                                                           Case 1:24-cv-00196-N/A                                            Document 2-1                            Filed 10/24/24                   Page 2 of 3
   03       8/19/2010        N05-02675171     1          OS2010054               BRO and Portland 40            $  23 766 Donm1ino Huanahekou Furniture lndustrv       7.24% $10 558.74 Honcvana Wooden Co (O&J Group}     216.01 %       $51 336.94       $1051H.11           $40 778.20
   03       9/2712010        N05-02693406     1          SO2010-014                   Portland 50               $ 25 849 Donm1ina Huanohekou Furniture lndustrv        7.24% $1 871 .47 Shenoauan Wooden Co                216.01'/,      $55 836.42       $114 359.59         $53 964.95
   03       9/2712010        N05-02693331     1          SO2010-015             Portland 40 and Combo           $ 194 133 Dona'tlino Huanohekou Furniture lnduslrv     7.24% $1 4 055.23 Shenoauan Wooden Co               216.01 %      $419 346.69       $858 871 .57       $405 291 .46
   03       10/6/2010        N05-02699627     1          SO2010-017                   Portland 40               $ 115 929 Oonovino Huam:ihekou Furniture lndustN       7.24% $8 393.26 Shenaauan Wooden Co                 216.01%       $250 418.23       $512 886.13        $242 024 .97
   03       10/8/2010        N05-02698496     1          SO2010-016                   Portland 40               $ 23 549 Oongying Huanghekou Furniture Industry        7.24% $1 704.95 Shenaauan Wooden Co                 216.01%        150 868.19       $104 184.07         $49 163.24
   03      10/20/2010        N05-02705911     1          SO2010-018                   Portland 40               $ 46 158 Dona,.ina Huanohekou Furniture lndustrv       7.24% $3 341 .84 Shencauan Wooden Co                216.01%        199 705.90       $204 209.45         $96 364.06
                                                                             BRO Deluxe (40, 1 BX Version}
   03       11m2010          322-03761071      2         OS2010081                     and BRO                  $   39 070 Oongvino Huanohekou Furniture Industry      7.24%   $4 232.14 Honovana Wooden Co CO&J Group)    216.01 %       S84 395.11       $172 851 .15        $80 162.97
                                                                             BRO Deluxe (40, 1 BX Version)
   03       11/9/2010        322-03763002      2         OS2010080              and Various BRO Parts           I   30 709 Don~ Huanahekou Furniture Industry          7.24%   $7 449 .45 Honavana Wooden Co lO&J Grauel   216.01%        166 334.51       $135 860.92         $58 885.06
   03      11/24/2010        322-03866508      3         OS2010084                        BRO                   $   16 015 Oonavina Huanohekou Furniture Industry      7.24%   $3 607.19 Honavana Wooden Co CD&J Grouol    216.01 %       $34 594.00        $70 852.60         $30 986.81
                                                                              BRO Deluxe {40 , 1 BX Version)
   03      11/24/2010        322-03866524      2         OS2010088           and BRO and Various BRO Parts      $   32 555 Oonavina Huanohekou Furniture lndusttv      7.24% $4 345.52 Honavana Wooden Co fO&J Group)      216.01 %       $70 322.06        1144 027.88        $65 976.54
                                                                              BRO Deluxe (-40 , 1 BX Version)
   03       12/3/2010        322-03930346      3         OS2010091                 and Various BRO Parts        I   15 430 Oonavina Huanahekou Furniture Industry      7.24%   $3 725.27 Honavana Wooden Co CD&J Grouol    216 .01%       133 330.34         $68 264.48        $29 605.07
                                                                              BRO Deluxe (-40, 1 BX Version)
   03      12/30/2010        322-04099976      1         OS2010095                 and Various BRO Parts        $   16 069 Donavina Huanahekou Furniture lndustrv      7.24%  $3 771 .53 Honavano Wooden Co (O&J Grouo\    216.01 %       $34 710.65         $71 091 .51       $30 939.12
   03        ln/2011         M96-21009049      1         OS2010098            BRO Deluxe (40 1 BX Version}      $   60 192 Oonavina Huanahekou Furniture lndustrv      7.24% $14 790.45 Honavana Wooden Co lD&J Grauel     216 .01%      $130 020.74        $266 297.83       $115230.29
                                                                             Portland Combo and 40 & Various
   03        1/17/2011       M96-21009130      1         SO2010-019               Case Parts /Portlandl         $   94 304 Oongying Huanghekou Furniture lndustrv       7.24% $6 827.61 Shenaauan Wooden Co                216.01 o/.    $203 706.07        1417 214 .10      $196 878.46

AD O was oa id onlv on a oortion of the merchanidse at the ti me of entrv.
   03         6/9/2010 1 ACN-30181034          2         OS2010029       I                 BRO                  I   61 098 Qinodao Honovana Wooden                    216.01 % 150 714.83 Honavana Wooden Co lO&J Greuel   216.01 %      $131 977.79        $270 306.11         $81 262.96
                       I                             I                   I
                         I                           II Value l ota ls: 11                                      $2 630,863                                                                            Totals:                           $5 682 ,927.17   111 ,639 ,306. 23   $5 ,443 ,923.74
                                                           Case 1:24-cv-00196-N/A                                              Document 2-1                              Filed 10/24/24                         Page 3 of 3
        A           B     I      C            D              E                         F                  I           G                          H                         I            J                      K                      L            M                N                0
 1             Importer of Record {IOR):             LaJobi Inc.
 2             IORNumber.                            26-204154000

 3             Anpraising Official:                  Is/ Arash Enshaee Import Soecialst CST203

 4             Suoervisorv lmoort Soecialist:         Isl Garv Melofchik Branch Chief T082
 5                                         I                            I
 6             These are entries that fall before 12/23/08
                                                                                                                                                                                       ---
                                                                                                                                                                                  Collected
                                                                                                                                                                        ADD Rate @Time of
                                                                                                                Entered                                                  Applied   Entry                                           Correct
     Entry                                                                                                       Value                                                   @Time     [ADO                                             ADO                         Domestic
  7   Type    Entrv Date      Entry M       lines        Invoice I           Mdse Subject to ADO              (Declared)            Commercial Invoice From              of Entry   Paid)             Actual Manufacturer           Rate   Total ADD Due         Value           Actual LOR
  8 Outv was not aeolied at the time of entry, Duty should have been 7 .24% or 216 .01 'I..
  9    01      4/11/2008 322-40385826          1       GEC0803011      Hudson LifesMe Guard/Bed Rails         $           5 058 Kunshan Geobv Paraaon                      0.00%      $0.00    Goodbabv Child Products             216.01%       $10 925.79       $22 377.30       $10 925.79
 10    01      4/26/2008 322-46373826          1        OS2008007           Christon 40 and Combo             $             798 Qinadaa Honavana Wooden                    0.00%      $0.00    Honovana Wooden Co (D&J Grauel      216.01%        $1 723.76        $3 530.46        $1 723.76
                                                                         Various Case Parts (Hampton ,
 11    01        5/2/2008 322-48123823         1       OS2008006               Kimberly, Christon)            $        7 536 China Rizhao Sanmu Woodworking                0.00%      $0.00    Hongyang Wooden Co (D&J Grouo\      216.01%       $16 278.51       $33 340.32       $16.278.51
.Jl_   01        5n12008 322-50635821          1       GEC0803030      Hudson Lifestyle Guard/Bed Rails       $       16133 Kunshan Geobv Paraoon                          0.00%      $0.00    Goodbabv Child Products             216.01%       $34 848.89       $71 374.65       $34 848.89

                                                                         Various Case Pieces (Bookcase,                         Orient International Holding Shanghai                          Orient International Holding Shanghai
 13     01        5/7/2008 322-50635821        1       08BL06231027     Hutch 50 Chest Armoire, Combo)        $            721 Foreign Trade                               0.00%       SO.DO   Foreign Trade                         216.01%      $1 557.43        $3189.80         $1 557.43
                                                                        Kendal Sample and Various Case
 14     01       5/18/2008 322-54658829        1        OS2008009           Parts lKimberlv Hamotonl          $        6 974    Qinodao Honovano Wooden                    0.00%       $0.00   Honovano Wooden Co lD&J Grouol       216.01%      $15 064.54       $30 853.95       $15 064.54
 15     01       7/28/2008 322-31370480        5       08258US009-4         Contemoo Drawer Handles           $          100    Qinadao Uanamu                             0.00%       $0.00   Uanamu Co                              7.24%           $7.24          $150.14            $7.24
 16     01       7/31/2008 322-30988480        4        OS2008018P         Various Case Parts {Kendall        $        2 400    China Rizhao Sanmu Woodworkino             0.00%       $0.00   Honovano Wooden Co lO&J Grouo)       216.01%       $5184.24        $10 617.94        $5184.24
 17     01       7/31/2008 322-30988480        4        OS2008018                    Kendal 40                $       24 332    China Rizhao Sanmu Woodwori(ino            0.00%       $0.00   Honovana Wooden Co CD&J Grouo}       216.01%      $52 559.55      $107 648.17       $52 559.55
 18     01        8/1/2008 322-33653487        3         OS2008020                   Kendal 40                $        1 896    Qinodao Honayano Wooden                    0.00%       $0.00   Hono~o Wooden Co CD&J Group)         216.01%       $4 095.55        $8 388.17        $4 095.55
 19     01      11/18/2008 322-23728554        2         OS2008033                   Kendal 40                $       24 486    China Rizhao Sanmu Woodwork.inc            0.00%       $0.00   Honovano Wooden Co lO&J Grouol       216.01%      $52 892.21      $108 329.49       $52 892.21
 20
  21 Merchandise was entered with lower dutv rate of 7.249/. when it should have been 216.01 %.
  22    03      4/16/2008 322-42441825       2         OS2008005               Christon Armoire               $        2 908 Qingdao Hongxano Wooden                       7.24% $210.54 Honavana Wooden Co CO&J Grouo)             216.01 %      $6281 .57       $12 865.40        S6 071 .03
.ll _ 03        5119/2008 322-54667820       2         OS2008012                   Kendal 40                  $       96 380 Qingdao Hongyang Wooden                       7.24% $10 864.34 Honayana Wooden Co (O&J Group)          216.01%     $208 190.44      $426 398.61      $197 326.10
                                                                       Kimberly 40, Armoire , Combo and
  24    03      5/29/2008 322-59038829       2         OS2008011                Christon Combo                $       50 223 China Riz.hao Sanmu Woodworkino                7.24% $3 636.15 Honavana Wooden Co lO&J Grauel          216.01 %    $108 486.70      $222 193.58      $104 850.55
,12.    03      6/10/2008 322-63741822       3         OS2008013                   Kendal 40                  $       94 800 China Rizhao Sanmu Woodworkino                 7.24% $6 863.52 Honavano Wooden Co lO&J Grouol          216.01%     $204 777.48      $419 408.47      $197 913.96
  26    03      6/16/2008 322-65613821       3         OS2008014                   Kendal 40                  $       31600 China Rizhao Sanmu Woodworking                  7.24% $2 287.84 Honoyana Wooden Co CO&J Group)          216.01%      $68 259.16      $139 802.82       $65 971 .32
        03        9/3/2008 322-45278489      3         OS2008023            Kendal  40 & Misc Parts           $       20 232 China Riz.hao Sanmu Woodworkina                7.24% $1 464.22 Honavano Wooden Co (O&J Grouol          216.01%      $43 703.14       $89 509.20       $42 238.92
.12
  28    03      9/30/2008 322-55512488       3         OS2008026        Kimberlv 50 Armoire and Combo         $       55 203 China Rizhao Sanmu Woodworkina                 7.24°/4 $515.85 Honavano Wooden Co lO&J Grouol          216.01 %    $119 244 .00     $244 225.80      $118 728.15


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,-12.         ~10/16/2008 322-60947489       3         OS2008028                Kimberlv Combo                $        1 235 China Rizhao Sanmu Woodworkina                 7.24o/, $1 613.58 Honavano Wooden Co CO&J Grauel        216.01%       $2 667.72        $5 463.81        $1 054 .14
  30   ~
               10/16/2008 322-60948487       2         OS2008027        Kimberly 50 Armoire and Combo         $       36 168 China Rizhao Sanmu Woodworking                 7.24% $2 618.56 Hom:Jvana Wooden Co CO&J Grouol         216.01%      $78 126.50      $160 012.30       $75 507.94
                                                                         Kimberly Armoire and Combo &
  31    03     10/22/2008 322-63104484       3         OS2008029                   Kendal 40                  $        48118 China Rizhao Sanmu Woodworkino                 7.24% $3 483.74 Honavana Wooden Co lO&J Grouol          216.01%      $103 939.69     $212 880.77       $100 455.95
  32    03       11/1/2008 322-67145483      2         OS2008032        Kimbertv 50 Armoire and Combo         $        27175 China Riz.hao Sanmu Woodworkina                7.24% $1967.47 Honovano Wooden Co lO&J Grauel           216.01%       $58 700.72     $120 226.00        $56 733.25
  33     03      11/1/2008 322-67149485      2         OS2008031        Kimberly 50 Armoire and Combo         $         5 790 China Rizhao Sanmu Woodworking                7.24% $419.20 Honayana Wooden Co CO&J Grouol            216.01%       $12 506.98      $25615.77         $12 087.78
               11/22/2008 322-24062557        2         OS2008036       Kimberlv 50 Armoire and Combo         $       164 046 China Rizhao Sanmu Woodwari(ina               7.24% $11 876.93 Honayana Wooden Co (O&J Group)         216.01%      $354 355.76     $725 762.47       $342 478.83
 .2i 03                                                                Kimberly Combo , Armoire and 50 &
   35    03      12/2/2008 322-28242551       2         OS2008037                  Kendal 40                      $       43180 China Rizhao Sanmu Woodworkina                 7.24% $3 126.23 Honavana Wooden Co lO&J Grauel       216.01%       $93 273.12      $191 034.37       $90 146.89
  36
  37                                                    Value Totals:                                             $   767 492                                                                                Totals:                           $ 1 657 650.70   $ 3 395 199.78   $ 1 606 ,702.53
